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 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                Nos. 2:11-cr-514-TLN
                                                   2:12-cr-060-TLN
12                 Plaintiff,                      2:14-cr-198-KJM
13        v.
                                              ORDER RELATING CASES
14   AHMED CHARTAEV, ET AL.,
15                 Defendants.
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17   UNITED STATES OF AMERICA,
18                 Plaintiff,
19        v.
20   SERGEY SHCHIRSKIY, ET AL.,
21                 Defendants.
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     UNITED STATES OF AMERICA,
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                   Plaintiff,
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          v.
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     SERGEY SHCHIRSKIY, ET AL.,
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                   Defendants.
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       Case 2:11-cr-00514-TLN Document 209 Filed 08/01/14 Page 2 of 2


 1          On July 25, 2014, the Government advised this Court (2:11-cr-514; ECF No. 207) that the
 2   above-entitled actions are related within the meaning of Local Rule 123. The indictment in Case
 3   No. 2:11-cr-514-TLN charges Defendant Sergey Shchirskiy with wire fraud and mail fraud. The
 4   indictment in Case No. 2:12-cr-060-TLN charges Defendant Sergey Shchirskiy with wire fraud
 5   and money laundering. The indictment in Case No. 2:14-cr-198-KJM charges Defendant Sergey
 6   Shchirskiy with conspiracy to defraud the United States, making false claims against the United
 7   States, and aggravated identity theft. The Government has advised the Court that Defendant is
 8   represented by the same attorney in all three cases and there is overlap with respect to witnesses.
 9   In light of the foregoing, the assignment of these cases to the same judge is likely to promote
10   judicial economy and the convenience of the parties.
11          The parties should be aware that relating the cases under Local Rule 123 only has the
12   result that these actions are assigned to the same judge; no consolidation of the actions is effected.
13   Under the regular practice of this Court, related cases are assigned to whom the first filed action
14   was assigned.
15          IT IS THEREFORE ORDERED that the action numbered 2:14-cr-198-KJM is reassigned
16   to Judge Troy L. Nunley for all further proceedings. Any dates currently set in the reassigned
17   case only are hereby vacated. Henceforth, the caption on documents filed in the reassigned case
18   shall be shown as 2:14-cr-198-TLN.
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20   Dated: July 31, 2014
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24                                                 Troy L. Nunley
                                                   United States District Judge
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